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 4
     Attorney for Defendant
 5   CARLOS SARABIA
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                                  UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA                       )      CASE NO. CR 07-315 OWW
                                                    )
13                                                  )       STIPULATION AND
                            Plaintiff,              )       ORDER CONTINUING HEARING
14                                                  )       AND EXCLUDING TIME
                    v.                              )
15                                                  )
                                                    )
16                                                  )
     CARLOS SARABIA, et al,                         )
17                                                  )
                                                    )
18                       Defendants.               )
                                                   )
19
20          Defendant, Carlos Sarabia, by and through his counsel, Tom Stanley and Plaintiff, United
21   States of America, by its counsel, Assistant United States Attorney Kathleen A. Servatius, stipulate
22   and agree that the Status Conference set for December 14, 2009, at 1:30 p.m. be continued to
23   January 4, 2010, at 1:30 p.m. The additional time is necessary because defense counsel, Tom
24   Stanley, is recovering from aortic valve replacement surgery on October 29, 2009, including being
25   unable to drive for six (6) weeks.
26          The parties further stipulate that the time that the time period from December 14, 2009 up
27   to an including the hearing date of January 4, 2010, should be excluded from the computation of
28   time for commencement of trial under the Speedy Trial Act based upon the health of defense
     counsel and the need of parties to continue settlement discussions and negotiations. For this reason,
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 1   the defendant, defense counsel, and the government agree additional time is required for the
 2   defense and government to try and resolve this case in the interests of justice under 18 U.S.C. §
 3   3161 (h) (8) (B) (iv).
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 5                                                 Respectfully submitted,
 6
 7   Dated: December 7, 2009.                     /s/ Tom Stanley
                                                   TOM STANLEY
 8                                                 Attorney for Defendant
                                                   CARLOS SARABIA
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10
     Dated: December 7, 2009.                    /s/ Tom Stanley
11                                                AUSA KATHLEEN A. SERVATIUS
                                                  Authorized to sign on 12/7/09
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 1                                                ORDER
 2          Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3          1. Based upon the representations and stipulation of counsel, the Court continues the Status
 4   Conference hearing from December 14, 2009, at 1:30 p.m. until January 4, 2010, at 1:30 p.m.
 5          2. Based upon the representations and stipulation of the parties, the Court finds that the time
 6   exclusion under 18 U.S.C. § 3161 (h) (8) (B) (iv) applies and the ends of justice outweigh the best
 7   interest of the public and the defendant in a speedy trial. Accordingly, the time from December 14,
 8   2009 up to and including January 4, 2010 shall be excluded from the computation of time for
 9   commencement of trial under the Speedy Trial Act based upon the health of defense counsel and
10   the need of parties to continue settlement discussions and negotiations.
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25   IT IS SO ORDERED.
26   Dated: December 8, 2009                           /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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